               Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 1 of 69 Page ID #:300



                                  RICHARD S. ENDRES (SBN 144853)
                             1    rendres@londonfischer.com
                                  LONDON FISCHER LLP
                             2    2505 McCabe Way, Suite 100
                                  Irvine, California 92614
                             3    T: (949) 252-0550 | F: (949) 252-0553
                             4    ROBERT S. NOBEL (Pro Hac Vice)
                                  rnobel@londonfischer.com
                             5    LONDON FISCHER LLP
                                  59 MAIDEN LANE 10038
                             6    T: (212) 331-9425 F: (212) 972-1030
                             7    Attorneys for Defendant
                             8    Federal Insurance Company
2505 McCabe Way, Suite 100
 LONDON FISCHER LLP




                             9
  Irvine, California 92614




                                                        UNITED STATES DISTRICT COURT
       (949) 252-0550




                             10                        CENTRAL DISTRICT OF CALIFORNIA
                             11
                                  NATIONAL CASUALTY COMPANY,                  CASE NO.: 2:22-cv-01690- SVW-
                             12                                               MAR
                                                          Plaintiff,
                             13                                               DISCOVERY MATTER
                                                 vs.
                             14
                                  FEDERAL INSURANCE COMPLANY,                 Assigned to
                             15                                               District Judge Stephen V. Wilson
                                                          Defendant.          Magistrate Judge Margo A. Roconni
                             16
                             17                                               DECLARATION OF ROBERT
                             18                                               S. NOBEL IN SUPPORT OF
                                                                              DEFENDANT’S MOTION TO
                             19
                                                                              TO COMPEL PLAINTIFF TO
                             20                                               PROVIDE COMPLETE RULE
                             21                                               26(a) INITIAL DISCLORUES
                                                                              AND FOR SANCTIONS
                             22                                               [Local Rule 37-1, FRCP 26, 37]
                             23
                                                                              Complaint Filed March 14, 2022
                             24
                                                                              Hearing Date: August 10, 2022
                             25                                               Time: 10:00 AM
                                                                              Place: Courtroom 790
                             26
                             27
                             28
                                        DECLARATION OF ROBERT   {
                                                                  S. NOBEL IN SUPPORT OF
                                     DEFENDANT’S MOTION TO COMPEL
                                                                N      PLAINTIFF TO PROVIDE
                                      COMPLETE RULE 26(a) INITIAL DISCLORUES PURSUANT TO
                                                                2
                                                  LR 37-2 AND FOR SANCTIONS
                                                                          1
               Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 2 of 69 Page ID #:301




                             1                      DECLARATION OF ROBERT S. NOBEL
                             2
                                  I, Robert S. Nobel, declare as follows:
                             3
                             4          1.     I am an attorney with the law firm of London Fischer LLP, duly
                             5
                                  admitted pro hac vice to practice law in this Court. I have responsibility for
                             6
                             7    handling this case on behalf of Defendant Federal Insurance Company (“Federal”
                             8    or “Defendant”) and I submit this declaration in support of Defendant’s Motion to
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 LONDON FISCHER LLP




                             9
  Irvine, California 92614




                                  Compel Plaintiff to provide complete Rule 26(a) Initial Disclosures and for the
       (949) 252-0550




                             10
                             11   imposition of sanctions based upon Plaintiff’s continued delay. All of the
                             12
                                  following facts are within my personal knowledge and, if called as a witness, I
                             13
                             14   could and would testify competently as to such matters.
                             15         2.     By Order dated June 9, 2022, the initial status conference previously
                             16
                             17   scheduled for June 13, 2022 was vacated and this Court set a trial date of October

                             18   18, 2022 (Doc Entry No. 28).
                             19
                                        3.     On June 17, 2022 Defendant served its Rule 26(a) Initial disclosures
                             20
                             21   upon Plaintiff, a copy of which is annexed hereto as Exhibit A. On that same date
                             22
                                  counsel spoke by telephone, at which time Plaintiff’s counsel agreed to serve its
                             23
                             24   Rule 26(a) Initial Disclosures by Monday, June 27, 2022. This agreement was

                             25   memorialized in an email dated June 17, 2022 (Exhibit B).
                             26
                                        4.     On Monday, June 27, 2022, Plaintiff’s counsel advised that he hoped
                             27
                             28
                                        DECLARATION OF ROBERT   {
                                                                  S. NOBEL IN SUPPORT OF
                                     DEFENDANT’S MOTION TO COMPEL
                                                                N      PLAINTIFF TO PROVIDE
                                      COMPLETE RULE 26(a) INITIAL DISCLORUES PURSUANT TO
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                                                  LR 37-2 AND FOR SANCTIONS
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               Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 3 of 69 Page ID #:302




                             1    to serve Plaintiff’s the Initial Disclosures within the “next couple of days,” which
                             2    he then clarified to mean Wednesday (June 29th) (Exhibit C). However, Plaintiff
                             3
                                  did not serve its Rule 26(a) Initial Disclosure on June 29th.
                             4
                             5          5.     By letter dated June 30, 2022, I wrote to Plaintiff’s Counsel pursuant
                             6
                                  to L.R. 37-1 and requested a telephone conference as required by L.R 37-1
                             7
                             8    (Exhibit D). Counsel for Plaintiff and Defendant engaged in a telephone
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                             9
  Irvine, California 92614




                                  conference on June 30, 2022, at which time it was agreed that Plaintiff would
       (949) 252-0550




                             10
                                  provide its Rule 26(a) Initial Disclosures on Tuesday July 5th. However, on Friday
                             11
                             12   July 5th Plaintiff’s counsel called and left me a voicemail message advising that
                             13
                                  Plaintiff’s Counsel had a deposition in another matter on Tuesday, July 5th and,
                             14
                             15   therefore, would not be providing Rule 26(a) Initial disclosures on Tuesday July
                             16
                                  5th as previously agreed. Instead, counsel advised that he would serve his Rule
                             17
                             18   26(a) Initial Disclosures by July 6th. After Defendant threatened to file a motion,

                             19   on Tuesday, July 5th Plaintiff served a Rule 26(a) Initial Disclosure (Exhibit E) .
                             20
                                        6.     By email dated July 6th, I wrote to Plaintiff’s counsel regarding
                             21
                             22   deficiencies in Plaintiff’s Rule 26(a) Initial Disclosure (Exhibit F).
                             23
                                        7.     Given the October trial date and the corresponding short time frame
                             24
                             25   to complete discovery, I demanded that Plaintiff provide full and complete
                             26   disclosures with the required documents by the end of the week (July 8, 2022) or
                             27
                             28
                                        DECLARATION OF ROBERT   {
                                                                  S. NOBEL IN SUPPORT OF
                                     DEFENDANT’S MOTION TO COMPEL
                                                                N      PLAINTIFF TO PROVIDE
                                      COMPLETE RULE 26(a) INITIAL DISCLORUES PURSUANT TO
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                                                  LR 37-2 AND FOR SANCTIONS
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               Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 4 of 69 Page ID #:303




                             1    Defendant would have no alternative but to seek judicial intervention. By email
                             2    dated July 6, Plaintiff’s counsel advised that he intended to supplement the
                             3
                                  disclosures with but the relevant documents were not currently in his file and he
                             4
                             5    did not anticipate having such information/documents by July 8. He suggested that
                             6
                                  Defendant wait until the end of the following week before filing a motion.
                             7
                             8          8.    On July 7th counsel for Plaintiff and Defendant conferred via
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                             9
  Irvine, California 92614




                                  telephone, at which time Plaintiff’s counsel advised that he still did not have the
       (949) 252-0550




                             10
                                  documents and would not be able to provide them by Friday, July 8th.
                             11
                             12         9.    Counsel conferred again on July 11, 2022 to discuss deficiencies in
                             13
                                  Plaintiff’s Rule 26(a) Initial Disclosures. Unable to resolve the issue, on July 11,
                             14
                             15   2022, pursuant to the procedural rules of Magistrate Judge Margo A. Rocconi,
                             16
                                  within twenty-four hours of the last meet and confer telephone conference,
                             17
                             18   Defendant sent an email to Magistrate Rocconi’s Deputy Clerk, Erica Bustos,

                             19   advising that the parties had reached an impasse and requested a telephone
                             20
                                  conference with the Court to discuss the discovery dispute (Exhibit G).
                             21
                             22         10.   On July 11, 2022, Plaintiff’s Counsel served Plaintiff’s First
                             23
                                  Supplemental Disclosure of Witnesses and Documents pursuant to FRCP Rule
                             24
                             25   26(a)(1) (Exhibit H) which was Defendant deemed deficient and which did not
                             26   include any documents supporting Plaintiff’s claim for damages.           Plaintiff’s
                             27
                             28
                                        DECLARATION OF ROBERT   {
                                                                  S. NOBEL IN SUPPORT OF
                                     DEFENDANT’S MOTION TO COMPEL
                                                                N      PLAINTIFF TO PROVIDE
                                      COMPLETE RULE 26(a) INITIAL DISCLORUES PURSUANT TO
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                                                  LR 37-2 AND FOR SANCTIONS
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                             1    counsel advised that once he had the transcripts, he would seek to confirm the
                             2    scope of testimony and provide further information, “Hopefully soon.”
                             3
                                        11.     By email dated July 12, 2022, Deputy Courtroom Clerk Bustos
                             4
                             5    advised that Judge Rocconi will be out and Defense counsel could file the motion
                             6
                                  as he sees fit (Exhibit I).
                             7
                             8          12.    On July 13, 2022 Plaintiff provided a Second Supplemental List of
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                             9
  Irvine, California 92614




                                  Witnesses and Documents (Exhibit J) but as of this date, Defendant has still not
       (949) 252-0550




                             10
                                  received the invoices supporting the alleged $17,380.099.34 in defense fees and
                             11
                             12   costs from the underlying CrossFit Action or any documents related to the
                             13
                                  settlement of the underlying CrossFit Action .
                             14
                             15         13.    To date, I have spent approximately 20 hours preparing
                             16
                                  correspondence in order to “meet and confer,” emailing and speaking with
                             17
                             18   opposing counsel, researching and preparing the present motion. My colleagues

                             19   handling this matter with me have spent additional time as well.
                             20
                                        14.    I was admitted to practice in New York in 1993 and I have been
                             21
                             22   practicing as an attorney continuously since that time. My reasonable hourly rate
                             23
                                  is $345 per hour for this matter.
                             24
                             25         15.    Defendant requests that the Court issue an Order compelling Plaintiff
                             26   to provide complete Rule 26(a) Initial Disclosures with supporting documents by
                             27
                             28
                                        DECLARATION OF ROBERT   {
                                                                  S. NOBEL IN SUPPORT OF
                                     DEFENDANT’S MOTION TO COMPEL
                                                                N      PLAINTIFF TO PROVIDE
                                      COMPLETE RULE 26(a) INITIAL DISCLORUES PURSUANT TO
                                                                2
                                                  LR 37-2 AND FOR SANCTIONS
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                             1    an immediate date certain and impose sanctions pursuant Federal Rules 26 and 37.
                             2    Such sanctions should include, but not be limited to an Order directing Plaintiff to
                             3
                                  pay the reasonable fees incurred by Defendant to obtain Plaintiff’s Rule 26(a)
                             4
                             5    Initial Disclosures in an amount of at least $6,900.00, striking of the Complaint (in
                             6
                                  whole or in part), dismissing Plaintiff’s action or precluding Plaintiff from offering
                             7
                             8    documents or testimony regarding information and documents that were not timely
2505 McCabe Way, Suite 100
 LONDON FISCHER LLP




                             9
  Irvine, California 92614




                                  and properly provided as required by Rule 26(a).
       (949) 252-0550




                             10
                                        16.    I declare under penalty of perjury that the foregoing is true and
                             11
                             12   correct. Executed on July 14, 2022 in New York, New York .
                             13
                             14                                                 /s/ Robert S. Nobel
                             15                                                  Robert S. Nobel
                             16
                             17
                             18
                             19
                             20
                             21
                             22
                             23
                             24
                             25
                             26
                             27
                             28
                                        DECLARATION OF ROBERT   {
                                                                  S. NOBEL IN SUPPORT OF
                                     DEFENDANT’S MOTION TO COMPEL
                                                                N      PLAINTIFF TO PROVIDE
                                      COMPLETE RULE 26(a) INITIAL DISCLORUES PURSUANT TO
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                                                  LR 37-2 AND FOR SANCTIONS
                                                                            1
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            EXHIBIT A
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 8 of 69 Page ID #:307




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     5 LONDON FISCHER LLP
       59 MAIDEN LANE 10038
     6 T: (212) 331-9425 F: (212) 972-1030

     7 Attorneys for Defendant
       Federal Insurance Company
     8
                                          UNITED STATES DISTRICT COURT
     9                                   CENTRAL DISTRICT OF CALIFORNIA
    10
         NATIONAL CASUALTY COMPANY,                                 CASE NO.: 2:22-cv-01690- SVW-MAR
    11
                                           Plaintiff,
    12
                                 vs.                                DEFENDANT’S RULE 26(a)(1)
    13                                                              INITIAL DISCLOSURES
         FEDERAL INSURANCE COMPLANY,
    14
                                           Defendant.
    15

    16

    17
                      Pursuant to Fed. R. Civ. P. 26(a), Defendant Federal Insurance Company (“Defendant” or
    18
         “Chubb”), by its attorneys London Fischer LLP, hereby serves these Initial Disclosures to
    19
         Plaintiff..
    20
                      Appendix A to these disclosures identifies those individuals who may have discoverable
    21
         information which Defendant may use to support its defenses. Chubb reserves its right to
    22
         supplement this disclosure upon identifying additional individuals who may have discoverable
    23
         information.
    24
                      Appendix B to these disclosures describes the documents, data compilations, and tangible
    25
         things held by Defendant that may support its defenses.
    26
                      Appendix C to these disclosures describes categories of documents that are either believed
    27
         to be in plaintiff’s possession and/or publicly available that Defendant may use to support its
    28

         {N2166811.1 }}
                                                               1
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 9 of 69 Page ID #:308




     1 defenses.

     2                These disclosures do not include the names of any potential experts retained or consulted

     3 by Defendant. Defendant will produce information relating to experts as may be appropriate under

     4 Federal Rule of Civil Procedure 26(a)(2) at the times provided by that Rule or any supervening

     5 order of the Court.

     6                These disclosures do not constitute waiver of any work product protection and are without

     7 prejudice to any other issue or argument

     8
         APPENDIX A (Witness List)
     9
               1. Name:                     Kirsten Finlayson
    10
                                            Northern Specialty Claims
    11                                      Specialty Claims Examiner
                                            Chubb North America
    12                Address:              c/o London Fischer LLP
    13         2. Name:                     Megan M. Lorentz-Owen
                                            Senior Claims Officer
    14
                                            Chubb North America
    15                Address:              c/o London Fischer LLP

    16         3. Name:                     David Montgomery
                                            Senior Claim Specialist
    17                                      E&S/Specialty Claims
                                            Nationwide / National Casualty Company
    18                Address:              c/o Zimmerman & Kahanowitch
    19
               4. Name:                     John Hapner
    20            Address:                  K&K Insurance Group, Inc.
                                            Fort Wayne, Indiana 46801
    21                Telephone:            (800) 637-4757

    22         5. Name:                     Carolyn Kanalos
                  Address:                  K&K Insurance Group, Inc.
    23
                                            1712 Magnavox Way
    24                                      Fort Wayne, Indiana 46801
                      Telephone:            (800) 637-4757
    25
               6. Name:                     Stephanie Nilsen
    26                                      Account Executive
                                            Entertainment & Sports Insurance eXperts
    27
                      Address:              5660 New Northside Drive, Suite 640
    28                                      Atlanta, GA 30328

         {N2166811.1 }}
                                                               2
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 10 of 69 Page ID
                                 #:309



   1                Telephone:        (678) 324-3300

   2         7. Name:                 Bruce Isaacs
                Address:              Signature Resolution
   3
                                      633 W. 5th Street, Suite 1000
   4                                  Los Angeles, CA 90071
                    Telephone:        (213) 622-1002
   5
             8. Name:                 Jimmy Nguyen
   6            Last known
                address:              Davis Wright Tremaine
   7
                                      865 South Figueroa Street
   8                                  Los Angeles, CA 90017
                    Last known
   9                telephone:        (213) 633-6800
  10 APPENDIX B (Document List)

  11
             Attached as Exhibit B are documents (D0000001–D0000465) that Chubb may use to
  12
       support its defenses to the claims:
  13
             1. Insurance Policies
  14                a. Forefont Portfolio For Not-for-Profit Organizations Policy No. 8211-6554 issued
  15                   by Chubb to NSCA on a claims-made basis for the policy period February 1, 2014
                       to February 1, 2015
  16                b. MEDIAGUARD Policy No. 6801-1044 issued by Chubb to NSCA on a claims
                       made basis for the policy period of February 1, 2014 to February 1, 2015
  17         2. Correspondence
                    a. Letter dated May 16, 2014, issued by K&K Insurance (Carolyn Kanalos) on behalf
  18                   of NCC to NSCA’s counsel (Thomas M. James)
  19                b. Letter dated July 17, 2015, issued by Chubb (Kristen Finlayson) to NSCA’s
                       counsel (Thomas M. James)
  20                c. Letter dated June 30, 2015, issued by Chubb (Megan M. Lorentz-Owen) to NSCA
                    d. Letter dated March 10, 2016, issued by Chubb (Megan M. Lorentz-Owen) to
  21                   NSCA
                    e. Letter dated January 13, 2017, issued by Paul Matousek, Esq. on behalf of Chubb
  22
                       to NSCA
  23                f. Letter dated June 9, 2017, from Brian Zimmerman, Esq. to Paul F. Matousek, Esq.
                    g. Letter dated August 17, 2017, from Paul F. Matousek, Esq. to Brian F.
  24                   Zimmerman, Esq.

  25         3. Documents form NSCA website https://www.nsca.com/including images captured and
                annexed to this production.
  26

  27         4. Pleadings, motions, other documents and submissions, Decisions and Orders from
                underlying CrossFit Action (Case No. 3:14-cv-01191-HKS-KCS)
  28               a. Complaint filed by CrossFit

       {N2166811.1 }}
                                                        3
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 11 of 69 Page ID
                                 #:310



   1                    b.   First Amended Complaint filed by CrossFit
                        c.   Second Amended Complaint filed by Cross Fit
   2                    d.   Devor Article
                        e.   Erratum related to Devor Article
   3
                        f.   Expert reports from underlying CrossFit Action
   4                              i. Report of Peter D. Wagner, M.D.
                                 ii. Expert Report by E. H. Morreim, JD, PhD
   5                            iii. Rebuttal Report by Peter D. Wagner, M.D.
   6         5. Confidential Settlement Agreement between Chubb and NSCA, to be produced upon
                receipt of NSCA’s written consent.
   7

   8    APPENDIX C (Additional Documents and Categories of Documents)

   9         Documents and categories of documents identified as Exhibit C are documents and categories of
  10 documents that are either in Plaintiff’s possession and/or are publicly available that Chubb may use to

  11
       support its defenses to the claims:
  12
             1.         NCC Policies
  13
                        a. Primary GL Policy No. KR00000003279700 issued by NCC to NSCA on an
  14                       “occurrence” basis for the policy period February 1, 2013 to February 1, 2014 to
  15                       NSCA ("NCC CGL Policy”)
                        b. Excess Policy No. XK00000003279800 issue by NCC to NSCA on an
  16                       “occurrence” basis for the policy February 1, 2013 to February 1 (“NCC Excess
                           Policy")
  17
             2.         Documents from CrossFit Action (Case No. 3:14-cv-01191-HKS-KCS) including but
  18                    not limited to:
  19
                        a. NSCA’s Statement of Undisputed Facts in Support of Motion For Summary
  20                       Judgment dated May 25, 2016
                        b. Decision and Order dated September 21, 2016
  21                    c. Order Granting in Part and Denying in Part Motion for Sanctions dated May 26,
                           2017, along with underlying motion papers
  22
                        d. Defendant NSCA’s Pretrial Statement dated January 26, 2018
  23
               3.       Documents from lawsuit filed by NCC against NSCA in the United States District Court
  24                    for the Southern District of California, Case No. 18-CV-1292-JLS-KSC, including
                        counterclaims asserted by NSCA against NCC, including but not limited to all pleadings,
  25                    motion papers and court Orders
  26
               4.       Documents from lawsuit filed by NSCA against Glassman, et al., filed in San Diego
  27                    Superior Court, Case No. 37-2016-00014339-CU-DF-CTL, including but not limited to all
                        pleadings, motion papers and court Orders
  28

       {N2166811.1 }}
                                                             4
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 12 of 69 Page ID
                                 #:311



   1                Defendant reserves its rights to amend or supplement this disclosure up to and including

   2 the time of trial.

   3 Date: June 17, 2022

   4                                                               LONDON FISCHER LLP

   5

   6                                                     By:        /s/ Robert S. Nobel
   7                                                               Robert S. Nobel
                                                                   rnobel@londonfischer.com
   8                                                               59 Maiden Lane
                                                                   New York, New York 10038
   9                                                               Main: (212) 972-1000
                                                                   Direct: (212) 331-9425
  10
                                                                   LF File. 430.0567420
  11
                                                                   Attorneys for Defendant
  12                                                               Federal Insurance Company
  13

  14

  15

  16

  17

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                                                               5
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                                 #:312




          EXHIBIT B
      Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 14 of 69 Page ID
                                       #:313



From:                Robert Nobel
Sent:                Friday, June 17, 2022 3:46 PM
To:                  Victor Groia
Subject:             RE: National Casualty Company v. Federal Insurance Company, 2:22-cv-01690 - SVW (MARx) (LF File
                     No. 430.0567420) - Defendants Rule 26(a) Initial Disclosures


Victor,

This will memorialize our discussion from earlier today regarding an expedited discovery schedule, with some additional
comments and questions.

    1. On June 17, 2022 we served Defendant’s Rule 26(a) Initial Disclosures by email. We reserve the right to
       supplement these disclosures as may be appropriate. Unless you advise otherwise, I plan to have these
       documents served by regular mail on Monday. Some law firms prefer that we not serve paper so please let me
       know your position on this.
    2. NCC plans to serve its Rule 26(a) Initial Disclosures within 10 days ‐ by June 27th.
    3. Defendant plans to serve discovery demands (which may include Demands for Documents, Interrogatories and
       Requests for Admission) as soon as possible and we have proposed that the time to respond be shortened to
       something less than the 30 days contemplated by the Federal Rules. I suggested 20 days but perhaps we should
       make it two weeks in an effort to complete document discovery prior to conducting depositions. Please provide
       your position in this regard as soon as possible.
    4. I envision conducting depositions in July, with an eye toward filing a motion for summary judgment in August.
    5. We discussed the possibility of jointly preparing a stipulated statement of facts. I am open to this suggestion but
       I will need to get client approval before formally agreeing to this.
    6. We agreed that both sides prefer private mediation and, toward that end, such should e scheduled for early
       September (my client’s available dates are set forth in a prior email). As the best mediators book up months in
       advance we need to select a mediator and lock in a date as soon as possible. I understand that you will provide
       your list of proposed mediators and dates early next week.

Please reply to let me know if I have accurately summarized our discussion and/or if you have any additional comments
or suggestions.

Very truly yours,


Robert S. Nobel
Of Counsel
London Fischer LLP
New York | New Jersey | California
Direct: (212) 331‐9425
Office: (212) 972‐1000
Fax: (212) 972‐1030
www.londonfischer.com




                                                            1
      Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 15 of 69 Page ID
                                       #:314
From: Victor Groia <vgroia@zimkalaw.com>
Sent: Friday, June 17, 2022 1:46 PM
To: Robert Nobel <rnobel@londonfischer.com>
Subject: RE: National Casualty Company v. Federal Insurance Company, 2:22‐cv‐01690 ‐ SVW (MARx) (LF File No.
430.0567420) ‐ Defendants Rule 26(a) Initial Disclosures

                                                    ** External Email **

This email originated from outside of our organization. Do not click any links or open any attachments unless you
recognize the sender and know the content is safe.

Hi Robert,

Thanks for the Initial Disclosures. We can talk further about any additional discovery at 12:00. Thanks again!

Best Regards,
VICTOR GROIA
Law Offices of
Zimmerman & Kahanowitch
A Professional Corporation
30300 Agoura Road., Suite B210
Agoura Hills, CA 91301
(818) 710-7777, ext. 257
http://www.zimkalaw.com/

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recipient, or the employee or agent responsible for delivering the message to the intended recipient, you are hereby
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this communication in error, please notify us immediately by reply e-mail and delete the original message. Thank you.



From: Robert Nobel <rnobel@londonfischer.com>
Sent: Friday, June 17, 2022 10:21 AM
To: Victor Groia <vgroia@zimkalaw.com>
Subject: National Casualty Company v. Federal Insurance Company, 2:22‐cv‐01690 ‐ SVW (MARx) (LF File No.
430.0567420) ‐ Defendants Rule 26(a) Initial Disclosures

Victor,

Attached please find Defendant Federal Insurance Company’s Rule 26(a) Initial disclosures and attachments. I look
forward to speaking with you this afternoon.

Very truly yours,

Robert S. Nobel
Of Counsel
London Fischer LLP
New York | New Jersey | California
Direct: (212) 331‐9425
Office: (212) 972‐1000
Fax: (212) 972‐1030
www.londonfischer.com
                                                              2
      Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 16 of 69 Page ID
                                       #:315




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Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 17 of 69 Page ID
                                 #:316




          EXHIBIT C
      Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 18 of 69 Page ID
                                       #:317



From:                Victor Groia <vgroia@zimkalaw.com>
Sent:                Monday, June 27, 2022 7:18 PM
To:                  Robert Nobel
Subject:             RE: National Casualty Company v. Federal Insurance Company, 2:22-cv-01690 - SVW (MARx) (LF File
                     No. 430.0567420
Attachments:         Stacy L. La Scala, Esq., JAMS Mediator and Arbitrator.pdf



                                                    ** External Email **

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recognize the sender and know the content is safe.

Hi Robert,

Apologies for the delayed response.

For discovery responses, let me take a closer look at your requests before I make any promises as to when I can get you
responses. I hope to get the initial disclosures to you within the next couple of days.

As for mediators, I would suggest Stacy La Scala of JAMS. (See attached)

Thanks!

Best Regards,
VICTOR GROIA
Law Offices of
Zimmerman & Kahanowitch
A Professional Corporation
30300 Agoura Road., Suite B210
Agoura Hills, CA 91301
(818) 710-7777, ext. 257
http://www.zimkalaw.com/

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this communication in error, please notify us immediately by reply e-mail and delete the original message. Thank you.



From: Robert Nobel <rnobel@londonfischer.com>
Sent: Friday, June 24, 2022 10:24 AM
To: Victor Groia <vgroia@zimkalaw.com>
Subject: RE: National Casualty Company v. Federal Insurance Company, 2:22‐cv‐01690 ‐ SVW (MARx) (LF File No.
430.0567420

Victor,

Please note that Defendant’s discovery demands reference the standard 30 day response time as I have not yet received
your formal agreement to shorten that time period. Given our expedited time table, I would urge you to agree that our
                                                              1
      Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 19 of 69 Page ID
                                       #:318
respective responses will be due 20 days after service rather than 30, and that we make every effort to respond
sooner. My 30(b)(6) notice is for July 18th based on the assumption that we will have your responses before that date.

I look forward to receiving your Rule 26(a) Initial disclosures on Monday and your proposed names and dates for
mediation. As we discussed, the best mediators book up months in advance so we really need to make scheduling a
mediation date in early September a priority.

Very truly yours,

Robert S. Nobel
Of Counsel
London Fischer LLP
New York | New Jersey | California
Direct: (212) 331‐9425
Office: (212) 972‐1000
Fax: (212) 972‐1030
www.londonfischer.com




From: Barry Lathuillerie <BLathuillerie@LondonFischer.com>
Sent: Friday, June 24, 2022 12:54 PM
To: vgroia@zimkalaw.com
Cc: Robert Nobel <rnobel@londonfischer.com>
Subject: National Casualty Company v. Federal Insurance Company, 2:22‐cv‐01690 ‐ SVW (MARx) (LF File No.
430.0567420


Good morning Mr. Groia,

At the request for Robert S. Nobel, please see the attached PDFs. Have a good rest of your morning/weekend, and be
safe.


Barry Lathuillerie
Legal Assistant
James T.H. Deaver, Esq.
William J. Edwins, Esq.
Robert S. Nobel, Esq.
London Fischer LLP
59 Maiden Lane
New York, NY 10038
Direct: (212) 331‐9587
blathuillerie@londonfischer.com




Disclaimer

                                                           2
      Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 20 of 69 Page ID
                                       #:319
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Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 21 of 69 Page ID
                                 #:320




          EXHIBIT D
   Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 22 of 69 Page ID
                                    #:321




                                               June 30, 2022

VIA EMAIL

Law Offices of
Zimmerman & Kahanowitch
A Professional Corporation
30300 Agoura Road., Suite B210
Agoura Hills, CA 91301
Attention:    Victor A. Groia, Esq.
              Hunter J. Nakrano,Esq.

                    Re:     National Casualty Company v. Federal Insurance Company
                             Case 2:22-cv-01690-SVW-MAR
                            Our File No.:     430.0567420

Counselors:

               As you know, this law firm represents Defendant Federal Insurance Company (“Federal”)
in the above-referenced insurance coverage action, which is presently scheduled for trial on October 18,
2022. This letter is being written pursuant to L.R. 37-1 (Prefiling Conference of Counsel) as part of
Federal’s good-faith effort to eliminate the need for a motion based upon Plaintiff’s failure to provide its
Rule 26(a) Initial Disclosure. Please contact me to schedule a telephone conference as required by L.R
37-1. I am available any time this afternoon / this evening.

                Pursuant to Rule 26(a)(1), a party must, without awaiting a discovery request, provide to
the other parties initial disclosures as set forth in that Rule. These disclosure were to be made at or within
14 days after the Rule 26(f) Conference. An Initial Case Management Conference was scheduled for June
13, 2022 (such that the Initial Disclosures would have been due by June 27th) but that conference was
cancelled by the court. Nevertheless, on June 17, 2022 Federal served its Rule 26(a) Initial Disclosures
by email upon your office. When we spoke by telephone on June 17th, it was agreed that Plaintiff would
serve its Rule 26(a) Initial Disclosures by Monday, June 27th. However, by email dated June 27th (received
at 7:18 PM EDT), you advised that you hoped to get the Initial Disclosures to me within the “next couple
of days,” which you then clarified to mean Wednesday (June 29th). As this letter is being written we have
still not received Plaintiff’s Rule 26(a) Initial Disclosures or any further indication as to when such will
be provided.

                I would not typically be concerned about a delay of a few days, but this case is far from
typical in that we have a pre-trial conference scheduled for October 3, 2022, a trial date of October 18,


{N2176617.1 }
   Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 23 of 69 Page ID
                                    #:322
National Casualty Company v. Federal Insurance Company
June 30, 2022
Page 2



2022 and, as we have discussed, there is a significant amount of discovery which needs to be completed
in a very short time so that motions for summary judgment can be filed in August, prior to conducting a
private mediation which we are seeking to schedule for early September (at least 45 days prior to the Final
Pretrial Conference as required by L.R. 16-15.2).

               As noted above, I am available any time this afternoon / this evening. Please contact me
as soon as possible.


                                                  Very truly yours,

                                          LONDON FISCHER LLP


                                            /s/   Robert S. Nobel
                                                  Robert S. Nobel




{N2176617.1 }
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 24 of 69 Page ID
                                 #:323




          EXHIBIT E
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 25 of 69 Page ID
                                 #:324


   1   VICTOR A. GROIA, ESQ. (Bar No. 232135)
       vgroia@zimkalaw.com
   2
       HUNTER J. NAKANO, ESQ. (Bar No. 317906)
   3   hnakano@zimkalaw.com
       Law Offices of
   4
       ZIMMERMAN & KAHANOWITCH
   5   A Professional Corporation
       30300 Agoura Road, Suite B-210
   6
       Agoura Hills, California 91301
   7   Telephone: (818) 710-7777
   8   Facsimile: (818) 710-7778

   9   Attorneys for Plaintiff, NATIONAL CASUALTY COMPANY
  10
  11                      UNITED STATES DISTRICT COURT

  12
                         CENTRAL DISTRICT OF CALIFORNIA
  13
  14
       NATIONAL CASUALTY COMPANY ) CASE NO.: 2:22-cv-01690
  15                              )
  16            Plaintiff,        )
                                  ) NATIONAL CASUALTY
  17   v.                         ) COMPANY’S INITIAL
  18                              ) DISCLOSURE OF WITNESSES
       FEDERAL INSURANCE COMPANY ) AND DOCUMENTS PURSUANT
  19                              ) TO FRCP 26(a)(1)
  20                   Defendant. )
                                  )
  21                              ) Complaint Filed: March 14, 2022
  22                              )
                                  )
  23                              )
  24
  25
            COMES NOW, Plaintiff NATIONAL CASUALTY COMPANY (hereinafter
  26
  27   “National”) by and through their counsel of record, ZIMMERMAN &

  28
        NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF WITNESSES AND DOCUMENTS
                                PURSUANT TO FRCP 26(a)(1)
                                             1
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 26 of 69 Page ID
                                 #:325


   1   KAHANOWITCH, P.C., and pursuant to FRCP 26(a)(1), hereby provides their Initial
   2
       Disclosure List of Witnesses and Exhibits and produces the identity of non-expert
   3
       witnesses who may be called to testify at the trial of this matter:
   4
   5                                              I.
   6
                                           WITNESSES
   7
   8      1. Megan M. Lorentz-Owen, Esq. of Chubb

   9         Current Address Unknown
  10
          2. Kirsten Finlayson of Chubb
  11
  12         Current Address Unknown

  13      3. Thomas M. James, Esq.
  14
             Current Address Unknown
  15
  16      4. Amy Lodovico of Chubb

  17         Current Address Unknown
  18
          5. Paul F. Matousek, Esq. of Walker, Wilcox, Matousek, LLP
  19
  20         Current Address Unknown

  21      6. Davin Montgomery of National Casualty Company
  22
             Can be contacted through counsel.
  23
  24         Plaintiff NATIONAL CASUALTY COMPANY reserves the right to

  25   supplement this list with additional witnesses including all witnesses from the
  26
       underlying CrossFit Lawsuit, if and when it is determine that they have relevant
  27
  28
         NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF WITNESSES AND DOCUMENTS
                                 PURSUANT TO FRCP 26(a)(1)
                                              2
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 27 of 69 Page ID
                                 #:326


   1   testimony to the instant matter and, additionally reserve the right to call any witness
   2
       who may be listed by any other party to this action.           Plaintiff NATIONAL
   3
       CASUALTY COMPANY further reserves the right to call any witness necessary for
   4
   5   impeachment or rebuttal at the time of trial.
   6
                                                 II.
   7
                                          DOCUMENTS
   8
   9
                   Bates No.                      Document Title/Description
  10
                                      National Casualty Company’s (hereinafter “National”)
  11                                  Commercial      General     Liability   Policy     No.
  12     NCC000001-NCC000109          KRO0000003279700 (2/1/13 to 2/1/14) issued to
                                      National Strength & Conditioning Association
  13                                  (Hereinafter “NSCA)
  14                                  National’s Commercial Excess Liability Policy No.
                                      XKO0000003279800 (hereafter the “National
  15     NCC000110-NCC000132
                                      Casualty Excess Policy”) (2/1/13 to 2/1/14) issued to
  16                                  NSCA
                                      Federal Insurance Company’s (hereinafter “Chubb”)
  17                                  Directors & Officers and Entity Liability Policy No.
         NCC000133-NCC000272
  18                                  8211-6554, effective from February 1, 2014 to
                                      February 1, 2015 issued to NSCA
  19                                  Federal Complaint filed in the underlying case entitled
  20                                  CrossFit, Inc. v. National Strength & Conditioning
         NCC000273-NCC000295
                                      Association, USDC Case No. 3:14-CV-01191-JLS-
  21                                  KSC (hereinafter “CrossFit Lawsuit”)
  22                                  Letter from Amy Lodovico of Chubb to Thomas M.
         NCC000296-NCC000300          James, Esq dated May 19, 2014
  23                                  Letter from Kristen Finlayson, Esq. of Chubb to
         NCC000301-NCC000306
  24                                  Thomas M. James, Esq dated July 17, 2015
                                      Letter from Megan M. Lorentz-Owen, Esq. of Chubb
  25     NCC000307-NCC000312
                                      to Keith Cinea of NSCA dated March 10, 2016
  26                                  Letter from Paul F. Matousek, Esq. to Thomas M.
         NCC000313-NCC000315
                                      James, Esq. dated January 13, 2017
  27
  28
         NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF WITNESSES AND DOCUMENTS
                                 PURSUANT TO FRCP 26(a)(1)
                                              3
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 28 of 69 Page ID
                                 #:327


   1                                    Article entitled “CrossFit-based high intensity power
                                        training improves maximal aerobic fitness and body
   2
                                        composition” (the Dover Study”) by Steven T. Devor,
         NCC000316-NCC000329
   3                                    Michael M. Smith, Allan J. Sommer, and Brooke E.
   4                                    Starkoff published in the Journal of Strength and
                                        Conditioning Research (“JSCR”) in November 2013
   5                                    Confidential Settlement Agreement concerning the
         TBD
   6                                    underlying CrossFit Lawsuit
                                        Letter from Plaintiffs’ counsel in the underlying
   7     TBD
                                        CrossFit Lawsuit to NSCA dated March 31, 2014
   8     TBD                            NSCA tender letter to Chubb of May 2014
                                        All tender letters and responses related to the
   9     TBD
                                        underlying CrossFit Lawsuit
  10     TBD                            All Documents filed in the CrossFit Lawsuit
         TBD                            All written discovery from the CrossFit Lawsuit
  11                                    All document served in discovery from the CrossFit
         TBD
  12                                    Lawsuit
         TBD                            All deposition transcripts from the CrossFit Lawsuit
  13
                                        All invoices related to defense fees paid by National in
         TBD
  14                                    defending NSCA in the CrossFit Lawsuit
                                        All invoices related to National’s costs in defending
  15     TBD
                                        NSCA in the CrossFit Lawsuit
  16
  17         All documents listed, and/or produced by any other party to this litigation.
  18
             Plaintiff NATIONAL CASUALTY COMPANY reserves the right to use all
  19
       documents produced by any other party, assuming proper foundation, as exhibits at
  20
  21   the time of trial. Additionally, Plaintiff NATIONAL CASUALTY COMPANY
  22
       reserves the right to amend/supplement this list with any additional documents not
  23
  24   now known and/or the names of any persons having knowledge of relevant matters

  25   pertaining to this litigation.
  26
       ///
  27
  28   ///
         NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF WITNESSES AND DOCUMENTS
                                 PURSUANT TO FRCP 26(a)(1)
                                              4
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 29 of 69 Page ID
                                 #:328


   1                                           III.
   2
                              COMPUTATION OF DAMAGES
   3
             To date, National’s known damages are as follows:
   4
   5      A. Underlying CrossFit Lawsuit indemnity settlement payment of $5,000,000.00
   6
          B. Underlying CrossFit Lawsuit defense fees and costs of $17,500,000.00,
   7
   8                                           IV.

   9                            INSURANCE AGREEMENT
  10
          1. National’s Commercial General Liability Policy No. KRO0000003279700
  11
  12         (2/1/13 to 2/1/14) issued to NSCA.

  13      2. National’s Commercial Excess Liability Policy No. XKO0000003279800
  14
             (hereafter the “National Casualty Excess Policy”) (2/1/13 to 2/1/14) issued to
  15
  16         NSCA.

  17      3. Federal Insurance Company’s (hereinafter “Chubb”) Directors & Officers and
  18
             Entity Liability Policy No. 8211-6554, effective from February 1, 2014 to
  19
  20         February 1, 2015 issued to NSCA

  21   Dated: July 5, 2022                  Respectfully submitted,
  22
                                            Law Offices of
  23                                        ZIMMERMAN & KAHANOWITCH
  24                                        A Professional Corporation

  25                                        By:
  26                                        Victor A. Groia, Esq.
                                            Hunter J. Nakano, Esq.
  27                                        Attorneys for Plaintiff, National Casualty Co.
  28
        NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF WITNESSES AND DOCUMENTS
                                PURSUANT TO FRCP 26(a)(1)
                                             5
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 30 of 69 Page ID
                                 #:329



   1                                 PROOF OF SERVICE
   2
        National Casualty Company v. Federal v. Federal Insurance Company, et al.
   3                      Case No.: 2:22-CV-01690-SVW (MARx)
   4 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   5
           I am employed in the County Los Angeles, State of California. I am over the
   6 age of 18 and not a party to the within action; my business address is 30300 Agoura
   7 Road, Suite 210, Agoura Hills, California 91301.
   8          On July 5, 2022, I served true copies of the following document(s):
     NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF
   9 WITNESSES AND DOCUMENTS PURSUANT TO FRCP 26(a)(1) on the
  10 interested parties in this action. See attached service list.
  11        I declare that I am "readily familiar" with the firm's practice of collection and
  12 processing correspondence for mailing. It is deposited with the U.S. postal service on
     that same day in the ordinary course of business. I am aware that on motion of party
  13 served, service is presumed invalid if postal cancellation date or postage meter date
  14 is more than one day after date of deposit for mailing in affidavit.
  15         (By MAIL) I deposited such envelope in the mail at Agoura Hills, California.
             The envelope was mailed with postage thereon fully prepaid.
  16
  17   X     (By ELECTRONIC TRANSMISSION:). I caused the above-entitled
             document to be served electronically to the recipients at the e-mail addresses
  18
             listed in the Service List below from e-mail address jkumagai@zimkalaw.com.
  19         I did not receive, within a reasonable time after the transmission, any electronic
             message or other indication that the transmission was unsuccessful. A copy of
  20
             the electronic filing receipt will be maintained with the original document in
  21         our file.
  22
       __    (State) I declare under penalty of perjury under the laws of the State of
  23         California that the above is true and correct.
  24
       X     (Federal) I declare that I am employed in the office of a member of the bar of
  25         this court at whose direct this service was made.
  26
             Executed on July 5, 2022, at Agoura Hills, California
  27
                                               _____________________________
  28                                                 Janet Kumagai

                                        PROOF OF SERVICE
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 31 of 69 Page ID
                                 #:330



   1   National Casualty Company v. Federal v. Federal Insurance Company, et al.
                         Case No.: 2:22-CV-01690-SVW (MARx)
   2
   3   Richard S. Endres, Esq.                    Attorneys for Defendant Federal
       Patrick G. Bollig, Esq.                    Insurance Company
   4
       LONDON FISCHER LLP
   5   2505 McCabe Way, Suite 100                 Tel: 949-252-0550
   6   Irvine, California 92614                   Fax: 949-252-0553

   7                                              e-mail(s):
   8                                              rendres@londonfischer.com
                                                  pbollig@londonfischer.com
   9
  10   Robert S. Nobel, Esq. (Pro Hac Vice)       Attorneys for Defendant Federal
       LONDON FISCHER LLP                         Insurance Company
  11   59 Maiden Lane
  12   New York, New York 10038                   Tel: 212-331-9425
                                                  Fax: 212-972-1030
  13
  14                                              e-mail(s):
                                                  rnobel@londonfischer.com
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                                     PROOF OF SERVICE
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 32 of 69 Page ID
                                 #:331




           EXHIBIT F
     Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 33 of 69 Page ID
                                      #:332



From:               Robert Nobel
Sent:               Wednesday, July 06, 2022 6:19 PM
To:                 Victor Groia
Subject:            RE: National Casualty Company v. Federal v. Federal Insurance Company, et al. 2:22-cv-01690-SVW
                    (MARx)



Victor,

I acknowledge receipt of Plaintiff’s Rule 26(a) Initial Disclosures received on Tuesday, July 5th.

I understand from our prior telephone conversations that you intend to supplement your disclosures, but it is
unclear to me whether you plan to supplement by providing the documents identified (but not produced) or
whether you believe there are additional individuals likely to have discoverable information and/or other
categories of documents that will support your claims. Please clarify.

Plaintiff is claiming damages of $5,000,000.00 as indemnity in settlement of the Underlying CrossFit
Lawsuit and $17,500,000.00 as defense fees and costs for the Underlying CrossFit Lawsuit but no actual
invoices have been provided and it is unclear whether the amount claimed as defense costs is comprised entirely
of fees paid to one law firm, includes the suit filed by NSCA against Glassman in State Court or any other
lawsuit, or includes payment of sanctions in any underlying case. Plaintiff is required to provide, and Defendant
is entitled to receive, a computation of each category of damages claimed, along with the documents or other
evidentiary material on which each computation is based, including materials bearing on the nature and extent
of damages claimed.

I think you will agree that Defendant has made every effort to avoid motion practice with respect to Plaintiff’s
required disclosures. However, given the very short time frame imposed by the court it is imperative that you
supplement your responses and provide the outstanding documents immediately. We must have your responses
and the required documents by the end of this week or we will have no alternative but to seek judicial
intervention.

In the alternative, I understand that National Casualty Company is considering the possibility of discontinuing
this action in Federal Court and re-filing in State Court. I believe that Chubb would agree to this and with
proceeding with mediation in September, provided we can also agree upon a mediator who is available on what
is now short notice. In any event, if Plaintiff is going to discontinue this action and re-file in State Court such
needs to be done promptly and ideally by the end of this week so that we can avoid the need for motion practice
as noted above.

Very truly yours,


Robert S. Nobel
Of Counsel
London Fischer LLP
New York | New Jersey | California
Direct: (212) 331‐9425
Office: (212) 972‐1000
Fax: (212) 972‐1030
                                                          1
      Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 34 of 69 Page ID
                                       #:333
www.londonfischer.com




From: Janet Kumagai <jkumagai@zimkalaw.com>
Sent: Tuesday, July 05, 2022 5:01 PM
To: Robert Nobel <rnobel@londonfischer.com>
Cc: Victor Groia <vgroia@zimkalaw.com>; Barry Lathuillerie <BLathuillerie@LondonFischer.com>
Subject: National Casualty Company v. Federal v. Federal Insurance Company, et al. 2:22‐cv‐01690‐SVW (MARx)

                                                    ** External Email **

This email originated from outside of our organization. Do not click any links or open any attachments unless you
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Good Afternoon,

Attached please find the following document being electronically served upon you as follows:

    1. NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF WITNESSES AND DOCUMENTS
       PURSUANT TO FRCP 26(a)(1)

Please access the documents via the following DropBox link:
https://www.dropbox.com/sh/ap3ipr902hqffai/AACSHTFluqihqLqbXn0JigVua?dl=0

Should you have any questions, please contact our office.

Best Regards,
Janet Kumagai
Law Offices of
Zimmerman & Kahanowitch
A Professional Corporation
30300 Agoura Road, Suite B-210
Agoura Hills, CA 91301
Ph: (818) 710-7777
Fax: (818) 710-7778
http://zimkalaw.com/

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this communication in error, please notify us immediately by reply e-mail and delete the original message. Thank you.”




                                                              2
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                                 #:334




          EXHIBIT G
       Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 36 of 69 Page ID
                                        #:335



From:              Robert Nobel
Sent:              Monday, July 11, 2022 1:39 PM
To:                erica_bustos@cacd.uscourts.gov
Cc:                Victor Groia
Subject:           Re: Case 2:22-cv-01690-SVW-MAR National Casualty Company v. Federal Insurance Company



Dear Ms. Bustos:

        This law firm represents Defendant Federal Insurance Company (“Federal” or “Defendant”) in the
above-referenced insurance coverage action commenced by Plaintiff National Casualty Company (“NCC” or
“Plaintiff”), in which Plaintiff seeks to recover from Defendant amounts that Plaintiff paid under primary and
excess insurance policies it issued to named, National Strength and Conditioning Association (“NSCA”) to
settle an underlying lawsuit filed by CrossFit, Inc. (“CrossFit”) against NSCA. This email is being submitted
pursuant to the procedural rules of Magistrate Judge Margo A. Rocconi which require, among other things, that
once the parties have determined that they have reached an impasse, within twenty-four hours of the last
conference, the movant must send an email seeking a telephone conference with the Court to discuss the
discovery dispute. In this regard, counsel for the parties have conferred and propose the following mutually
agreeable dates/times for a call with the Court:

       Monday, July 11 at 3:00 PM (PDT)
       Wednesday, July 13 at 10:00 AM (PDT) to 11:30 AM (PDT)
       Wednesday July 13 at 2:00 PM (PDT) to 4:00 PM (PDT)

Neutral Statement of Dispute

    By Order dated June 9, 2022, the initial status conference previously scheduled for June 13, 2022 was
vacated and taken off-calenda and tis Court set a trial date of October 18, 2022, with a pretrial conference on
October 3, 2022. On June 17, 2022 Defendant served its Rule 26(a) Initial disclosures upon Plaintiff. On that
same date counsel spoke by telephone, at which time Plaintiff’s counsel agreed to serve his Rule 26(a) Initial
Disclosures by June 27, 2022. On June 27, 2022 Plaintiff’s counsel advised that he hoped to serve Plaintiff’s
the Initial Disclosures by Wednesday (June 29th). After additional emails were exchanged, counsel for Plaintiff
and Defendant engaged in a telephone conference on June 30, 2022, at which time it was agreed that Plaintiff
would provide its Rule 26(a) Initial Disclosures on Tuesday July 5th. On Tuesday, July 5th Plaintiff served a
Rule 26(a) Initial Disclosure which Defendant deems deficient in several critical respects including, but not
limited to:

       The lack of a proper “computation of damages”, particularly with respect to the purported defense costs
        which are generally claimed to amount to $17,500,000.

       The failure to provide any documents regarding defense costs or the settlement of the underlying CrossFit

        Action.

       The lack of other unspecified additional documents that Plaintiff may rely upon to support its claims but

        has not yet provided

                                                        1
    Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 37 of 69 Page ID
                                                #:336
    Although Plaintiff provided copies the primary and excess policies it issued to NSCA, the documents

       provided state that that they are not certified copies, suggesting that these are not the documents Plaintiff

       will rely upon to prove its claims.

     Given the very short time frame imposed by the court to complete discovery, Defense counsel demanded
that Plaintiff provide full and complete responses and the required documents by the end of the day on Friday,
July 8, 2022. Plaintiff’s counsel advised that he intended to supplement the disclosures but the relevant
documents were not currently in his file. Plaintiff’s counsel further advised that he did not anticipate having this
information/documents by July 8th and suggested that Defendant wait until the end of the following week before
filing a motion. On July 7, 2022, counsel spoke but did not reach an agreement. By email dated July8th,
Plaintiff’s counsel advised that his client was in the process of gathering all the invoices for the legal fees and
costs and he hoped to have the invoices in his file by “next Tuesday and should be able to produce them . . . by
Wednesday.” On July 11, 2022 counsel conferred by telephone again, at which time Plaintiff’s counsel advised
that he was in the process of gathering documents and again Defendant to wait. Defendant cannot agree to any
further extensions of time and, therefore, the parties are an impasse.

Defendant’s Position

       Defendant seeks this Court’s intervention because Plaintiff’s continued delay in providing sufficient Rule

26(a) Initial Disclosures is prejudicial to Defendant, particularly in light of the October 18, 2022 trial date.

Plaintiff’s Position

       Plaintiff advises that he is in the process of gathering the documents and will provide them as soon as he
can.

Respectfully submitted,

Robert S. Nobel
Of Counsel
London Fischer LLP
New York | New Jersey | California
Direct: (212) 331‐9425
Office: (212) 972‐1000
Fax: (212) 972‐1030
www.londonfischer.com




                                                          2
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 38 of 69 Page ID
                                 #:337




          EXHIBIT H
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 39 of 69 Page ID
                                 #:338


   1   VICTOR A. GROIA, ESQ. (Bar No. 232135)
       vgroia@zimkalaw.com
   2
       HUNTER J. NAKANO, ESQ. (Bar No. 317906)
   3   hnakano@zimkalaw.com
       Law Offices of
   4
       ZIMMERMAN & KAHANOWITCH
   5   A Professional Corporation
       30300 Agoura Road, Suite B-210
   6
       Agoura Hills, California 91301
   7   Telephone: (818) 710-7777
   8   Facsimile: (818) 710-7778

   9   Attorneys for Plaintiff, NATIONAL CASUALTY COMPANY
  10
  11                      UNITED STATES DISTRICT COURT

  12
                         CENTRAL DISTRICT OF CALIFORNIA
  13
  14
       NATIONAL CASUALTY COMPANY ) CASE NO.: 2:22-cv-01690
  15                              )
  16            Plaintiff,        )
                                  ) NATIONAL CASUALTY
  17   v.                         ) COMPANY’S FIRST
  18                              ) SUPPLEMENTAL DISCLOSURE
       FEDERAL INSURANCE COMPANY ) OF WITNESSES AND
  19                              ) DOCUMENTS PURSUANT TO
  20                   Defendant. ) FRCP 26(a)(1)
                                  )
  21                              )
  22                              ) Complaint Filed: March 14, 2022
                                  )
  23                              )
  24
  25
            COMES NOW, Plaintiff NATIONAL CASUALTY COMPANY (hereinafter
  26
  27   “National”) by and through their counsel of record, ZIMMERMAN &

  28
        NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF WITNESSES AND DOCUMENTS
                                PURSUANT TO FRCP 26(a)(1)
                                             1
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 40 of 69 Page ID
                                 #:339


   1   KAHANOWITCH, P.C., and pursuant to FRCP 26(a)(1), hereby supplements their
   2
       Initial Disclosure List of Witnesses and Exhibits and produces the identity of non-
   3
       expert witnesses who may be called to testify at the trial of this matter as follows
   4
   5   (supplemented information and/or documentation is noted in bold):
   6
                                                 I.
   7
   8                                      WITNESSES

   9      1. Megan M. Lorentz-Owen, Esq. of Chubb
  10
             Current Address Unknown
  11
  12      2. Kirsten Finlayson of Chubb

  13         Current Address Unknown
  14
          3. Thomas M. James, Esq.
  15
  16         Current Address Unknown

  17      4. Amy Lodovico of Chubb
  18
             Current Address Unknown
  19
  20      5. Paul F. Matousek, Esq. of Walker, Wilcox, Matousek, LLP

  21         Current Address Unknown
  22
          6. Davin Montgomery of National Casualty Company
  23
  24         Can be contacted through counsel.

  25      7. Keith Cinea of National Strength and Conditioning Association
  26
             1885 Bob Johnson Drive, Colorado Springs, CO 80906
  27
  28
        NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF WITNESSES AND DOCUMENTS
                                PURSUANT TO FRCP 26(a)(1)
                                             2
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 41 of 69 Page ID
                                 #:340


   1      8. Joan Kraemer
   2
             Current Address Unknown
   3
          9. Nickolas Clayton
   4
   5         Current Address Unknown
   6
          10. Wayde Rivinius
   7
   8         Current Address Unknown

   9      11. William Kraemer, Ph.D.
  10
             Current Address Unknown
  11
  12         Plaintiff NATIONAL CASUALTY COMPANY reserves the right to

  13   supplement this list with additional witnesses including all witnesses from the
  14
       underlying CrossFit Lawsuit, if and when it is determine that they have relevant
  15
  16   testimony to the instant matter and, additionally reserve the right to call any witness

  17   who may be listed by any other party to this action.           Plaintiff NATIONAL
  18
       CASUALTY COMPANY further reserves the right to call any witness necessary for
  19
  20   impeachment or rebuttal at the time of trial.

  21
                                                 II.
  22
                                          DOCUMENTS
  23
  24
                   Bates No.                     Document Title/Description
  25                                  National Casualty Company’s (hereinafter “National”)
  26     NCC000001-NCC000109          Commercial     General   Liability    Policy    No.
                                      KRO0000003279700 (2/1/13 to 2/1/14) issued to
  27
  28
         NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF WITNESSES AND DOCUMENTS
                                 PURSUANT TO FRCP 26(a)(1)
                                              3
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 42 of 69 Page ID
                                 #:341


   1                        National Strength & Conditioning Association
                            (Hereinafter “NSCA)
   2
                            National’s Commercial Excess Liability Policy No.
   3                        XKO0000003279800 (hereafter the “National
        NCC000110-NCC000132
   4                        Casualty Excess Policy”) (2/1/13 to 2/1/14) issued to
                            NSCA
   5                        Federal Insurance Company’s (hereinafter “Chubb”)
   6                        Directors & Officers and Entity Liability Policy No.
        NCC000133-NCC000272
                            8211-6554, effective from February 1, 2014 to
   7                        February 1, 2015 issued to NSCA
   8                        Federal Complaint filed in the underlying case entitled
                            CrossFit, Inc. v. National Strength & Conditioning
   9    NCC000273-NCC000295
                            Association, USDC Case No. 3:14-CV-01191-JLS-
  10                        KSC (hereinafter “CrossFit Lawsuit”)
                            Letter from Amy Lodovico of Chubb to Thomas M.
  11    NCC000296-NCC000300 James, Esq dated May 19, 2014
  12                        Letter from Kristen Finlayson, Esq. of Chubb to
        NCC000301-NCC000306
                            Thomas M. James, Esq dated July 17, 2015
  13                        Letter from Megan M. Lorentz-Owen, Esq. of Chubb
        NCC000307-NCC000312
  14                        to Keith Cinea of NSCA dated March 10, 2016
                            Letter from Paul F. Matousek, Esq. to Thomas M.
  15    NCC000313-NCC000315
                            James, Esq. dated January 13, 2017
  16                        Article entitled “CrossFit-based high intensity power
                            training improves maximal aerobic fitness and body
  17
                            composition” (the Dover Study”) by Steven T. Devor,
        NCC000316-NCC000329
  18                        Michael M. Smith, Allan J. Sommer, and Brooke E.
                            Starkoff published in the Journal of Strength and
  19
                            Conditioning Research (“JSCR”) in November 2013
  20                        First Amended Federal Complaint filed in the
                            underlying case entitled CrossFit, Inc. v. National
  21
        NCC000330-NCC000357 Strength & Conditioning Association, USDC Case
  22                        No.       3:14-CV-01191-JLS-KSC          (hereinafter
                            “CrossFit Lawsuit”)
  23
                            Second Amended Federal Complaint filed in the
  24                        underlying case entitled CrossFit, Inc. v. National
  25    NCC000358-NCC000395 Strength & Conditioning Association, USDC Case
                            No.       3:14-CV-01191-JLS-KSC          (hereinafter
  26                        “CrossFit Lawsuit”)
  27                        Order Granting In Part And Denying In Part
        NCC000396-NCC000409
                            Motion For Sanctions filed in the underlying case
  28
        NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF WITNESSES AND DOCUMENTS
                                PURSUANT TO FRCP 26(a)(1)
                                             4
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 43 of 69 Page ID
                                 #:342


   1                                    entitled CrossFit, Inc. v. National Strength &
                                        Conditioning Association, USDC Case No. 3:14-
   2
                                        CV-01191-JLS-KSC            (hereinafter     “CrossFit
   3                                    Lawsuit”)
   4                                    Confidential Settlement Agreement concerning the
         TBD
                                        underlying CrossFit Lawsuit
   5                                    Letter from Plaintiffs’ counsel in the underlying
         TBD
   6                                    CrossFit Lawsuit to NSCA dated March 31, 2014
         TBD                            NSCA tender letter to Chubb of May 2014
   7                                    All tender letters and responses related to the
         TBD
   8                                    underlying CrossFit Lawsuit
                                        All Documents filed in the CrossFit Lawsuit, which
   9     TBD                            National believes are in the possession of Chubb
  10                                    and/or are publicly available.
                                        All written discovery from the CrossFit Lawsuit,
  11     TBD                            which National believes are in the possession of
  12                                    Chubb.
                                        All document served in discovery from the CrossFit
  13     TBD                            Lawsuit, which National believes are in the
  14                                    possession of Chubb.
         TBD                            All deposition transcripts from the CrossFit Lawsuit
  15
                                        All invoices related to defense fees paid by National in
         TBD
  16                                    defending NSCA in the CrossFit Lawsuit
                                        All invoices related to National’s costs in defending
  17     TBD
                                        NSCA in the CrossFit Lawsuit
  18
  19       All documents listed, and/or produced by any other party to this litigation.
  20
           Plaintiff NATIONAL CASUALTY COMPANY reserves the right to use all
  21
  22   documents produced by any other party, assuming proper foundation, as exhibits at

  23   the time of trial. Additionally, Plaintiff NATIONAL CASUALTY COMPANY
  24
       reserves the right to amend/supplement this list with any additional documents not
  25
  26   now known and/or the names of any persons having knowledge of relevant matters

  27   pertaining to this litigation.
  28
         NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF WITNESSES AND DOCUMENTS
                                 PURSUANT TO FRCP 26(a)(1)
                                              5
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 44 of 69 Page ID
                                 #:343


   1                                           III.
   2
                              COMPUTATION OF DAMAGES
   3
             To date, National’s known damages are as follows:
   4
   5      A. Underlying CrossFit Lawsuit indemnity settlement payment of $5,000,000.00
   6
          B. Underlying CrossFit Lawsuit defense fees and costs of $17,500,000.00,
   7
   8                                           IV.

   9                            INSURANCE AGREEMENT
  10
          1. National’s Commercial General Liability Policy No. KRO0000003279700
  11
  12         (2/1/13 to 2/1/14) issued to NSCA.

  13      2. National’s Commercial Excess Liability Policy No. XKO0000003279800
  14
             (hereafter the “National Casualty Excess Policy”) (2/1/13 to 2/1/14) issued to
  15
  16         NSCA.

  17      3. Federal Insurance Company’s (hereinafter “Chubb”) Directors & Officers and
  18
             Entity Liability Policy No. 8211-6554, effective from February 1, 2014 to
  19
  20         February 1, 2015 issued to NSCA

  21   Dated: July 11, 2022                 Respectfully submitted,
  22
                                            Law Offices of
  23                                        ZIMMERMAN & KAHANOWITCH
  24                                        A Professional Corporation

  25                                        By:
  26                                        Victor A. Groia, Esq.
                                            Hunter J. Nakano, Esq.
  27                                        Attorneys for Plaintiff, National Casualty Co.
  28
        NATIONAL CASUALTY COMPANY’S INITIAL DISCLOSURE OF WITNESSES AND DOCUMENTS
                                PURSUANT TO FRCP 26(a)(1)
                                             6
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 45 of 69 Page ID
                                 #:344



   1                                 PROOF OF SERVICE
   2
        National Casualty Company v. Federal v. Federal Insurance Company, et al.
   3                      Case No.: 2:22-CV-01690-SVW (MARx)
   4 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   5
           I am employed in the County Los Angeles, State of California. I am over the
   6 age of 18 and not a party to the within action; my business address is 30300 Agoura
   7 Road, Suite 210, Agoura Hills, California 91301.
   8          On July 11, 2022, I served true copies of the following document(s):
     NATIONAL CASUALTY COMPANY’S FIRST SUPPLEMENTAL
   9 DISCLOSURE OF WITNESSES AND DOCUMENTS PURSUANT TO FRCP
  10 26(a)(1) on the interested parties in this action. See attached service list.
  11        I declare that I am "readily familiar" with the firm's practice of collection and
  12 processing correspondence for mailing. It is deposited with the U.S. postal service on
     that same day in the ordinary course of business. I am aware that on motion of party
  13 served, service is presumed invalid if postal cancellation date or postage meter date
  14 is more than one day after date of deposit for mailing in affidavit.
  15         (By MAIL) I deposited such envelope in the mail at Agoura Hills, California.
             The envelope was mailed with postage thereon fully prepaid.
  16
  17   X     (By ELECTRONIC TRANSMISSION:). I caused the above-entitled
             document to be served electronically to the recipients at the e-mail addresses
  18
             listed in the Service List below from e-mail address jkumagai@zimkalaw.com.
  19         I did not receive, within a reasonable time after the transmission, any electronic
             message or other indication that the transmission was unsuccessful. A copy of
  20
             the electronic filing receipt will be maintained with the original document in
  21         our file.
  22
       __    (State) I declare under penalty of perjury under the laws of the State of
  23         California that the above is true and correct.
  24
       X     (Federal) I declare that I am employed in the office of a member of the bar of
  25         this court at whose direct this service was made.
  26
             Executed on July 11, 2022, at Agoura Hills, California
  27
                                               _____________________________
  28                                                 Janet Kumagai

                                        PROOF OF SERVICE
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 46 of 69 Page ID
                                 #:345



   1   National Casualty Company v. Federal v. Federal Insurance Company, et al.
                         Case No.: 2:22-CV-01690-SVW (MARx)
   2
   3   Richard S. Endres, Esq.                    Attorneys for Defendant Federal
       Patrick G. Bollig, Esq.                    Insurance Company
   4
       LONDON FISCHER LLP
   5   2505 McCabe Way, Suite 100                 Tel: 949-252-0550
   6   Irvine, California 92614                   Fax: 949-252-0553

   7                                              e-mail(s):
   8                                              rendres@londonfischer.com
                                                  pbollig@londonfischer.com
   9
  10   Robert S. Nobel, Esq. (Pro Hac Vice)       Attorneys for Defendant Federal
       LONDON FISCHER LLP                         Insurance Company
  11   59 Maiden Lane
  12   New York, New York 10038                   Tel: 212-331-9425
                                                  Fax: 212-972-1030
  13
  14                                              e-mail(s):
                                                  rnobel@londonfischer.com
  15
  16
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                                              2
                                     PROOF OF SERVICE
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 47 of 69 Page ID
                                 #:346




            EXHIBIT I
      Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 48 of 69 Page ID
                                       #:347



From:                Erica Bustos <erica_bustos@cacd.uscourts.gov>
Sent:                Tuesday, July 12, 2022 6:36 PM
To:                  Robert Nobel
Cc:                  Victor Groia
Subject:             RE: Case 2:22-cv-01690-SVW-MAR National Casualty Company v. Federal Insurance Company



                                                   ** External Email **

This email originated from outside of our organization. Do not click any links or open any attachments unless you
recognize the sender and know the content is safe.

Good afternoon counsel,

Unfortunately, Judge Rocconi will be out, you can file the motion as you see fit.

Thank you




From: Robert Nobel <rnobel@londonfischer.com>
Sent: Monday, July 11, 2022 10:39 AM
To: Erica Bustos <erica_bustos@cacd.uscourts.gov>
Cc: Victor Groia <vgroia@zimkalaw.com>
Subject: Re: Case 2:22‐cv‐01690‐SVW‐MAR National Casualty Company v. Federal Insurance Company

CAUTION - EXTERNAL:


Dear Ms. Bustos:

        This law firm represents Defendant Federal Insurance Company (“Federal” or “Defendant”) in the
above-referenced insurance coverage action commenced by Plaintiff National Casualty Company (“NCC” or
“Plaintiff”), in which Plaintiff seeks to recover from Defendant amounts that Plaintiff paid under primary and
excess insurance policies it issued to named, National Strength and Conditioning Association (“NSCA”) to
settle an underlying lawsuit filed by CrossFit, Inc. (“CrossFit”) against NSCA. This email is being submitted
pursuant to the procedural rules of Magistrate Judge Margo A. Rocconi which require, among other things, that
once the parties have determined that they have reached an impasse, within twenty-four hours of the last
conference, the movant must send an email seeking a telephone conference with the Court to discuss the
discovery dispute. In this regard, counsel for the parties have conferred and propose the following mutually
agreeable dates/times for a call with the Court:

                                                             1
    Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 49 of 69 Page ID
                                               #:348
    Monday, July 11 at 3:00 PM (PDT)
    Wednesday, July 13 at 10:00 AM (PDT) to 11:30 AM (PDT)
    Wednesday July 13 at 2:00 PM (PDT) to 4:00 PM (PDT)

Neutral Statement of Dispute

    By Order dated June 9, 2022, the initial status conference previously scheduled for June 13, 2022 was
vacated and taken off-calenda and tis Court set a trial date of October 18, 2022, with a pretrial conference on
October 3, 2022. On June 17, 2022 Defendant served its Rule 26(a) Initial disclosures upon Plaintiff. On that
same date counsel spoke by telephone, at which time Plaintiff’s counsel agreed to serve his Rule 26(a) Initial
Disclosures by June 27, 2022. On June 27, 2022 Plaintiff’s counsel advised that he hoped to serve Plaintiff’s
the Initial Disclosures by Wednesday (June 29th). After additional emails were exchanged, counsel for Plaintiff
and Defendant engaged in a telephone conference on June 30, 2022, at which time it was agreed that Plaintiff
would provide its Rule 26(a) Initial Disclosures on Tuesday July 5th. On Tuesday, July 5th Plaintiff served a
Rule 26(a) Initial Disclosure which Defendant deems deficient in several critical respects including, but not
limited to:

      The lack of a proper “computation of damages”, particularly with respect to the purported defense costs
       which are generally claimed to amount to $17,500,000.

      The failure to provide any documents regarding defense costs or the settlement of the underlying CrossFit

       Action.

      The lack of other unspecified additional documents that Plaintiff may rely upon to support its claims but

       has not yet provided

      Although Plaintiff provided copies the primary and excess policies it issued to NSCA, the documents

       provided state that that they are not certified copies, suggesting that these are not the documents Plaintiff

       will rely upon to prove its claims.

     Given the very short time frame imposed by the court to complete discovery, Defense counsel demanded
that Plaintiff provide full and complete responses and the required documents by the end of the day on Friday,
July 8, 2022. Plaintiff’s counsel advised that he intended to supplement the disclosures but the relevant
documents were not currently in his file. Plaintiff’s counsel further advised that he did not anticipate having this
information/documents by July 8th and suggested that Defendant wait until the end of the following week before
filing a motion. On July 7, 2022, counsel spoke but did not reach an agreement. By email dated July8th,
Plaintiff’s counsel advised that his client was in the process of gathering all the invoices for the legal fees and
costs and he hoped to have the invoices in his file by “next Tuesday and should be able to produce them . . . by
Wednesday.” On July 11, 2022 counsel conferred by telephone again, at which time Plaintiff’s counsel advised
that he was in the process of gathering documents and again Defendant to wait. Defendant cannot agree to any
further extensions of time and, therefore, the parties are an impasse.

Defendant’s Position

       Defendant seeks this Court’s intervention because Plaintiff’s continued delay in providing sufficient Rule

26(a) Initial Disclosures is prejudicial to Defendant, particularly in light of the October 18, 2022 trial date.
                                                          2
     Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 50 of 69 Page ID
                                      #:349
Plaintiff’s Position

         Plaintiff advises that he is in the process of gathering the documents and will provide them as soon as he
can.

Respectfully submitted,

Robert S. Nobel
Of Counsel
London Fischer LLP
New York | New Jersey | California
Direct: (212) 331‐9425
Office: (212) 972‐1000
Fax: (212) 972‐1030
www.londonfischer.com




Disclaimer

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for viruses and malware.


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attachments or clicking on links.




                                                                   3
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 51 of 69 Page ID
                                 #:350




            EXHIBIT J
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 52 of 69 Page ID
                                 #:351


   1   VICTOR A. GROIA, ESQ. (Bar No. 232135)
       vgroia@zimkalaw.com
   2
       HUNTER J. NAKANO, ESQ. (Bar No. 317906)
   3   hnakano@zimkalaw.com
       Law Offices of
   4
       ZIMMERMAN & KAHANOWITCH
   5   A Professional Corporation
       30300 Agoura Road, Suite B-210
   6
       Agoura Hills, California 91301
   7   Telephone: (818) 710-7777
   8   Facsimile: (818) 710-7778

   9   Attorneys for Plaintiff, NATIONAL CASUALTY COMPANY
  10
  11                      UNITED STATES DISTRICT COURT

  12
                         CENTRAL DISTRICT OF CALIFORNIA
  13
  14
       NATIONAL CASUALTY COMPANY ) CASE NO.: 2:22-cv-01690
  15                              )
  16            Plaintiff,        )
                                  ) NATIONAL CASUALTY
  17   v.                         ) COMPANY’S SECOND
  18                              ) SUPPLEMENTAL DISCLOSURE
       FEDERAL INSURANCE COMPANY ) OF WITNESSES AND
  19                              ) DOCUMENTS PURSUANT TO
  20                   Defendant. ) FRCP 26(a)(1)
                                  )
  21                              )
  22                              ) Complaint Filed: March 14, 2022
                                  )
  23                              )
  24
  25        COMES NOW, Plaintiff NATIONAL CASUALTY COMPANY (hereinafter
  26
       “National”) by and through their counsel of record, ZIMMERMAN &
  27
  28   KAHANOWITCH, P.C., and pursuant to FRCP 26(a)(1), hereby supplements their

       NATIONAL CASUALTY COMPANY’S SECOND SUPPLEMENTAL DISCLOSURE OF WITNESSES AND
                            DOCUMENTS PURSUANT TO FRCP 26(a)(1)
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 53 of 69 Page ID
                                 #:352


   1   Initial Disclosure List of Witnesses and Exhibits and produces the identity of non-
   2
       expert witnesses who may be called to testify at the trial of this matter as follows
   3
       (supplemented information and/or documentation is noted in bold):
   4
   5                                             I.
   6
                                          WITNESSES
   7
   8      1. Megan M. Lorentz-Owen, Esq. of Chubb

   9         Current Address Unknown
  10
          2. Kirsten Finlayson of Chubb
  11
  12         Current Address Unknown

  13      3. Thomas M. James, Esq.
  14
             Current Address Unknown
  15
  16      4. Amy Lodovico of Chubb

  17         Current Address Unknown
  18
          5. Paul F. Matousek, Esq. of Walker, Wilcox, Matousek, LLP
  19
  20         Current Address Unknown

  21      6. Davin Montgomery of National Casualty Company
  22
             Can be contacted through counsel.
  23
  24      7. Keith Cinea of National Strength and Conditioning Association

  25         1885 Bob Johnson Drive, Colorado Springs, CO 80906
  26
  27
  28

       NATIONAL CASUALTY COMPANY’S SECOND SUPPLEMENTAL DISCLOSURE OF WITNESSES AND
                            DOCUMENTS PURSUANT TO FRCP 26(a)(1)
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                                 #:353


   1        This witness is expected to provide testimony concerning the facts and
   2
            circumstances surrounding the underlying incident in question and to the
   3
            authenticity of records.
   4
   5     8. Joan Kraemer
   6
            Independent Contractor, Editorial Manager for National Strength &
   7
   8        Conditioning Association

   9        3870 Chinawood Court
  10
            Colorado Springs, CO 80918
  11
  12        This witness is expected to provide testimony concerning the facts and

  13        circumstances surrounding the underlying incident in question and to the
  14
            authenticity of records.
  15
  16     9. Nickolas Clayton

  17        Former Program Manager: Personal Training and Business Development,
  18
            National Strength & Conditioning Association
  19
  20        9233 Prestmoor Place

  21        Brentwood, TN 37027
  22
            This witness is expected to provide testimony concerning the facts and
  23
  24        circumstances surrounding the underlying incident in question and to the

  25        authenticity of records.
  26
         10. Wayde Rivinius
  27
  28

       NATIONAL CASUALTY COMPANY’S SECOND SUPPLEMENTAL DISCLOSURE OF WITNESSES AND
                            DOCUMENTS PURSUANT TO FRCP 26(a)(1)
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 55 of 69 Page ID
                                 #:354


   1         Former Senior Director of Technology, National Strength & Conditioning
   2
             Association (Hereinafter “NSCA)
   3
             13001 S 29th Pl
   4
   5         Bellevue, NE 68123
   6
             This witness is expected to provide testimony concerning the facts and
   7
   8         circumstances surrounding the underlying incident in question and to the

   9         authenticity of records.
  10
          11. William Kraemer, Ph.D.
  11
  12         Independent Contractor, Editorial in Chief for National Strength &

  13         Conditioning Association
  14
             Current Address Unknown
  15
  16         This witness is expected to provide testimony concerning the facts and

  17         circumstances surrounding the underlying incident in question and to the
  18
             authenticity of records.
  19
  20         Plaintiff NATIONAL CASUALTY COMPANY reserves the right to

  21   supplement this list with additional witnesses including all witnesses from the
  22
       underlying CrossFit Lawsuit, if and when it is determine that they have relevant
  23
  24   testimony to the instant matter and, additionally reserve the right to call any witness

  25   who may be listed by any other party to this action.           Plaintiff NATIONAL
  26
       CASUALTY COMPANY further reserves the right to call any witness necessary for
  27
  28   impeachment or rebuttal at the time of trial.

       NATIONAL CASUALTY COMPANY’S SECOND SUPPLEMENTAL DISCLOSURE OF WITNESSES AND
                            DOCUMENTS PURSUANT TO FRCP 26(a)(1)
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   1                                        II.
   2                                 DOCUMENTS
   3
   4             Bates No.                     Document Title/Description
   5                              National Casualty Company’s (hereinafter “National”)
   6                              Commercial       General    Liability   Policy     No.
        NCC000001-NCC000109       KRO0000003279700 (2/1/13 to 2/1/14) issued to
   7                              National Strength & Conditioning Association
   8                              (Hereinafter “NSCA)
                                  National’s Commercial Excess Liability Policy No.
   9                              XKO0000003279800 (hereafter the “National
        NCC000110-NCC000132
  10                              Casualty Excess Policy”) (2/1/13 to 2/1/14) issued to
                                  NSCA
  11                              Federal Insurance Company’s (hereinafter “Chubb”)
  12                              Directors & Officers and Entity Liability Policy No.
        NCC000133-NCC000272
                                  8211-6554, effective from February 1, 2014 to
  13                              February 1, 2015 issued to NSCA
  14                              Federal Complaint filed in the underlying case entitled
                                  CrossFit, Inc. v. National Strength & Conditioning
  15    NCC000273-NCC000295
                                  Association, USDC Case No. 3:14-CV-01191-JLS-
  16                              KSC (hereinafter “CrossFit Lawsuit”)
                                  Letter from Amy Lodovico of Chubb to Thomas M.
  17    NCC000296-NCC000300       James, Esq dated May 19, 2014
  18                              Letter from Kristen Finlayson, Esq. of Chubb to
        NCC000301-NCC000306
                                  Thomas M. James, Esq dated July 17, 2015
  19                              Letter from Megan M. Lorentz-Owen, Esq. of Chubb
        NCC000307-NCC000312
  20                              to Keith Cinea of NSCA dated March 10, 2016
                                  Letter from Paul F. Matousek, Esq. to Thomas M.
  21    NCC000313-NCC000315
                                  James, Esq. dated January 13, 2017
  22                              Article entitled “CrossFit-based high intensity power
                                  training improves maximal aerobic fitness and body
  23
                                  composition” (the Dover Study”) by Steven T. Devor,
        NCC000316-NCC000329
  24                              Michael M. Smith, Allan J. Sommer, and Brooke E.
                                  Starkoff published in the Journal of Strength and
  25
                                  Conditioning Research (“JSCR”) in November 2013
  26                              First Amended Federal Complaint filed in the
        NCC000330-NCC000357       underlying case entitled CrossFit, Inc. v. National
  27
                                  Strength & Conditioning Association, USDC Case No.
  28

       NATIONAL CASUALTY COMPANY’S SECOND SUPPLEMENTAL DISCLOSURE OF WITNESSES AND
                            DOCUMENTS PURSUANT TO FRCP 26(a)(1)
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   1                        3:14-CV-01191-JLS-KSC (hereinafter “CrossFit
                            Lawsuit”)
   2
                            Second Amended Federal Complaint filed in the
   3                        underlying case entitled CrossFit, Inc. v. National
   4    NCC000358-NCC000395 Strength & Conditioning Association, USDC Case No.
                            3:14-CV-01191-JLS-KSC (hereinafter “CrossFit
   5                        Lawsuit”)
   6                        Order Granting In Part And Denying In Part Motion
                            For Sanctions filed in the underlying case entitled
   7    NCC000396-NCC000409 CrossFit, Inc. v. National Strength & Conditioning
   8                        Association, USDC Case No. 3:14-CV-01191-JLS-
                            KSC (hereinafter “CrossFit Lawsuit”)
   9    NCC000410-NCC000415 Claimant Payment Summary
  10                        NSCA-CrossFit Confidential Settlement Agreement
                            concerning the underlying CrossFit Lawsuit,
  11    TBD
                            production pending Confidentiality Protective
  12                        Order.
                            NSCA-Nationwide           Confidential       Settlement
  13                        Agreement concerning the underlying CrossFit
        TBD
  14                        Lawsuit, production pending Confidentiality
                            Protective Order.
  15                        Letter from Plaintiffs’ counsel in the underlying
        TBD
  16                        CrossFit Lawsuit to NSCA dated March 31, 2014
        TBD                 NSCA tender letter to Chubb of May 2014
  17
                            All tender letters and responses related to the
        TBD
  18                        underlying CrossFit Lawsuit
                            All Documents filed in the CrossFit Lawsuit, which
  19
        TBD                 National believes are in the possession of Chubb and/or
  20                        are publicly available.
                            All written discovery from the CrossFit Lawsuit,
  21
        TBD                 which National believes are in the possession of
  22                        Chubb.
  23                        All document served in discovery from the CrossFit
        TBD                 Lawsuit, which National believes are in the possession
  24                        of Chubb.
  25    TBD                 All deposition transcripts from the CrossFit Lawsuit
                            All invoices related to defense fees paid by National in
  26    TBD
                            defending NSCA in the CrossFit Lawsuit
  27                        All invoices related to National’s costs in defending
        TBD
                            NSCA in the CrossFit Lawsuit
  28

       NATIONAL CASUALTY COMPANY’S SECOND SUPPLEMENTAL DISCLOSURE OF WITNESSES AND
                            DOCUMENTS PURSUANT TO FRCP 26(a)(1)
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   1
   2       All documents listed, and/or produced by any other party to this litigation.
   3
           Plaintiff NATIONAL CASUALTY COMPANY reserves the right to use all
   4
       documents produced by any other party, assuming proper foundation, as exhibits at
   5
   6   the time of trial. Additionally, Plaintiff NATIONAL CASUALTY COMPANY
   7
       reserves the right to amend/supplement this list with any additional documents not
   8
   9   now known and/or the names of any persons having knowledge of relevant matters

  10   pertaining to this litigation.
  11
                                                III.
  12
  13                             COMPUTATION OF DAMAGES

  14          To date, National’s known damages are as follows:
  15
          A. Underlying CrossFit Lawsuit indemnity settlement payment of $5,000,000.00
  16
  17      B. Underlying CrossFit Lawsuit defense fees and costs of $17,380,099.36, see

  18          payment summary Bates stamped NCC000410-NCC000415
  19
                                                IV.
  20
  21                                INSURANCE AGREEMENT

  22      1. National’s Commercial General Liability Policy No. KRO0000003279700
  23
              (2/1/13 to 2/1/14) issued to NSCA.
  24
  25      2. National’s Commercial Excess Liability Policy No. XKO0000003279800

  26          (hereafter the “National Casualty Excess Policy”) (2/1/13 to 2/1/14) issued to
  27
              NSCA.
  28

       NATIONAL CASUALTY COMPANY’S SECOND SUPPLEMENTAL DISCLOSURE OF WITNESSES AND
                            DOCUMENTS PURSUANT TO FRCP 26(a)(1)
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   1      3. Federal Insurance Company’s (hereinafter “Chubb”) Directors & Officers and
   2
             Entity Liability Policy No. 8211-6554, effective from February 1, 2014 to
   3
             February 1, 2015 issued to NSCA
   4
   5   Dated: July 13, 2022                Respectfully submitted,
                                           Law Offices of
   6
                                           ZIMMERMAN & KAHANOWITCH
   7                                       A Professional Corporation
   8
                                           By:
   9                                       Victor A. Groia, Esq.
  10                                       Hunter J. Nakano, Esq.
                                           Attorneys for Plaintiff, National Casualty Co.
  11
  12
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       NATIONAL CASUALTY COMPANY’S SECOND SUPPLEMENTAL DISCLOSURE OF WITNESSES AND
                            DOCUMENTS PURSUANT TO FRCP 26(a)(1)
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                                 #:360




                                                                NCC000411
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                                 #:361




                                                                NCC000412
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                                 #:362




                                                                NCC000413
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                                 #:363




                                                                NCC000414
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                                 #:364




                                                                NCC000415
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 66 of 69 Page ID
                                 #:365



   1                                 PROOF OF SERVICE
   2
        National Casualty Company v. Federal v. Federal Insurance Company, et al.
   3                      Case No.: 2:22-CV-01690-SVW (MARx)
   4 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   5
           I am employed in the County Los Angeles, State of California. I am over the
   6 age of 18 and not a party to the within action; my business address is 30300 Agoura
   7 Road, Suite 210, Agoura Hills, California 91301.
   8          On July 13, 2022, I served true copies of the following document(s):
     NATIONAL CASUALTY COMPANY’S SECOND SUPPLEMENTAL
   9 DISCLOSURE OF WITNESSES AND DOCUMENTS PURSUANT TO FRCP
  10 26(a)(1) on the interested parties in this action. See attached service list.
  11        I declare that I am "readily familiar" with the firm's practice of collection and
  12 processing correspondence for mailing. It is deposited with the U.S. postal service on
     that same day in the ordinary course of business. I am aware that on motion of party
  13 served, service is presumed invalid if postal cancellation date or postage meter date
  14 is more than one day after date of deposit for mailing in affidavit.
  15         (By MAIL) I deposited such envelope in the mail at Agoura Hills, California.
             The envelope was mailed with postage thereon fully prepaid.
  16
  17   X     (By ELECTRONIC TRANSMISSION:). I caused the above-entitled
             document to be served electronically to the recipients at the e-mail addresses
  18
             listed in the Service List below from e-mail address jkumagai@zimkalaw.com.
  19         I did not receive, within a reasonable time after the transmission, any electronic
             message or other indication that the transmission was unsuccessful. A copy of
  20
             the electronic filing receipt will be maintained with the original document in
  21         our file.
  22
       __    (State) I declare under penalty of perjury under the laws of the State of
  23         California that the above is true and correct.
  24
       X     (Federal) I declare that I am employed in the office of a member of the bar of
  25         this court at whose direct this service was made.
  26
             Executed on July 13, 2022, at Agoura Hills, California
  27
                                               _____________________________
  28                                                 Janet Kumagai

                                        PROOF OF SERVICE
Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 67 of 69 Page ID
                                 #:366



   1   National Casualty Company v. Federal v. Federal Insurance Company, et al.
                         Case No.: 2:22-CV-01690-SVW (MARx)
   2
   3   Richard S. Endres, Esq.                    Attorneys for Defendant Federal
       Patrick G. Bollig, Esq.                    Insurance Company
   4
       LONDON FISCHER LLP
   5   2505 McCabe Way, Suite 100                 Tel: 949-252-0550
   6   Irvine, California 92614                   Fax: 949-252-0553

   7                                              e-mail(s):
   8                                              rendres@londonfischer.com
                                                  pbollig@londonfischer.com
   9
  10   Robert S. Nobel, Esq. (Pro Hac Vice)       Attorneys for Defendant Federal
       LONDON FISCHER LLP                         Insurance Company
  11   59 Maiden Lane
  12   New York, New York 10038                   Tel: 212-331-9425
                                                  Fax: 212-972-1030
  13
  14                                              e-mail(s):
                                                  rnobel@londonfischer.com
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                                     PROOF OF SERVICE
            Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 68 of 69 Page ID
                                             #:367




                     1                                         PROOF OF SERVICE
                                           National Casualty Company v. Federal v. Federal Insurance Company
                     2                                          USDC, Central District
                                                               Case No.: 2:22-CV-01690
                     3
                         STATE OF CALIFORNIA, COUNTY OF ORANGE
                     4
                                I am employed in the County of Orange, State of California. I am over the age of 18 and
                     5   am not a party to the within action. My business address is 2505 McCabe Way, Suite 100, Irvine,
                         California 92614.
                     6
                     7               On July 14, 2022, the document(s) entitled:
                     8                DECLARATION OF ROBERT S. NOBEL IN SUPPORT OF
                     9         DEFENDANT'S MOTION TO COMPEL PLAINTIFF TO PROVIDE COMPLETE
                                     RULE 26(a) INITIAL DISCLOSURES AND FOR SANCTIONS
                10
                         was/were served on the interested parties in this action by placing: [ ] the original [X] a true
                11       copy thereof, to be delivered/addressed as follows:

                12
                13       [X]         (BY ELECTRONIC MAIL) By causing the above-listed documents to be e-mailed to the
                                     person(s) at the e-mail address(es) set forth above.
                14
                                     Executed on July 14, 2022, at Irvine, California.
                15
                         [X]         (FEDERAL) I declare that I am employed in the office of a member of the bar of this
                16                   court at whose direction the service was made.
                17
                18
                             Sue Dobrowolski
                19
                20
                21
                22
                23
                24
                25
                26
                27
                28

London Fischer LLP       {L0189459.1 }                                   2
 2505 McCabe Way
      Suite 100                                                     PROOF OF SERVICE
  Irvine, CA 92614
   (949) 252-0550
            Case 2:22-cv-01690-SVW-MAR Document 30-2 Filed 07/14/22 Page 69 of 69 Page ID
                                             #:368



                                                               SERVICE LIST
                     1                   National Casualty Company v. Federal v. Federal Insurance Company
                                                              USDC, Central District
                     2                                       Case No.: 2:22-CV-01690
                     3
                     4       Victor A. Groia, Esq.
                             Hunter J. Nakano, Esq.
                     5       LAW OFFICES OF ZIMMERMAN &
                     6       KAHANOWITCH
                             30300 Agoura Rd., Ste. B-210
                     7       Agoura Hills, CA 91301
                             T: (818) 710-7777
                     8       F: (818) 710-7778
                     9       vgroia@zimkalaw.com
                             hnakano@zimkalaw.com
                10
                             Attorney for Plaintiff
                11           NATIONAL CASUALTY COMPANY
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London Fischer LLP       {L0189459.1 }                               3
 2505 McCabe Way
      Suite 100                                                  PROOF OF SERVICE
  Irvine, CA 92614
   (949) 252-0550
